









Dismissed and Memorandum Opinion filed April 21, 2005









Dismissed and Memorandum Opinion filed April 21, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00257-CV

____________

&nbsp;

GITA BHAKTA,
Appellant

&nbsp;

V.

&nbsp;

NANCY GROVES,
Appellee

&nbsp;



&nbsp;

On Appeal from the County Civil
Court at Law No. 4

Harris County, Texas

Trial Court Cause No.
824,292

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment signed December 2,
2004.&nbsp; The notice of appeal was filed on
March 2, 2005.&nbsp; To date, our records show
that appellant has neither established indigence nor paid the $125.00 appellate
filing fee.&nbsp; See Tex. R. App. P. 5 (requiring payment
of fees in civil cases unless indigent);Tex. R. App. P. 20.1
(listing
requirements for establishing indigence); see also Order Regarding Fees
Charged in Civil Cases in the Supreme Court and the Courts of Appeals, Misc.
Docket No. 98-9120 (Tex. Jul. 21, 1998) (listing fees in court of appeals); Tex. Gov=t Code Ann. ' 51.207 (Vernon Supp.2004-05) (same). 








After being notified that this appeal was
subject to dismissal, appellant did not adequately respond.&nbsp;
Accordingly, the appeal is ordered dismissed.&nbsp; See Tex.
R. App. P. 42.3(c) (allowing involuntary dismissal of case because appellant has failed to comply
with notice from clerk requiring response or other action within specified
time).&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Judgment rendered and Memorandum
Opinion filed April 21, 2005.

Panel consists of Justices Yates,
Anderson, and Hudson.

&nbsp;





